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      From:        Johnny Nunes         @apple.com)
      To:          Carson Oliver              r@apple.com)
      CC:
      BCC:
      Subject:     Fwd: Google Play competitive analysis
      Attachments:
      Sent:        02/05/2019 10:53:20 PM 0000(GMT)

       Hey, per Alastair's response, do you have any high-level data re: Google Play? (see below)

       Thanks,

       Johnny


         Begin forwarded message:

         From: Alastair Morse                 @apple.com>
         Subject: Re: Google Play competitive analysis
         Date: February 5, 2019 at 12:06:51 AM PST
         To: Ayman Khalil               l@apple.com>
         Cc: Johnny Nunes           @apple.com>

         I think the only data that exists is the 3PP studies — like the mobile gaming report that Ann has. Carson might have
         something similar for ecosystem.

         Those would give you the high level stuff probably.



                On Feb 5, 2019, at 7:55 AM, Johnny Nunes             @apple.com> wrote:

                Hey guys,

                Matt has asked that the product team provide a brief competitive analysis of Google Play at his offsite next week.
                Does your team have any data (I'm assuming 3rd party) that you've used for similar purposes? I'm thinking high-level
                numbers like: total revenue, downloads, market share, etc.

                Anything you can provide would be helpful.

                Thanks!

                Johnny




                                                                                                         EXHIBIT 6836

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